           Case 1:14-mj-00233-PMS Document 3 Filed 10/30/14 Page 1 of 4 Pageid#: 3
AO 106(Rev.04/10)ApplicationforaSearchW nrmnt
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            In theM atterofthe Search of                           )
       (Briqfydescribetheproperty tobesearched                     )
        orldent# thepersonbyrltz-candaddress)                      )            casexo./.
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                                                                                        /z/w g:J-
                                                                                                x g3
                     Facebook,Inc.                                 )
              Electronic Storage Databases                         )
                                                                   )
                                     APPLICATION FOR A SEAR CH W ARR ANT
        1,a federal1aw enforcementofficeroran attorney forthegovernm ent,requesta search warrantand stateunder
penalty ofperjurythatIhavereason tobelievethatonthefollowingpersonorproperty(identh thepersonorffcxcrf?,
                                                                                                       cthe
propertytobesearchedandgiveitsIocadonl:
 Facebook,Inc.eletronic internetprotocolaccountactivation records and subscriberrecords.
located in the         W estern       Districtof                       Virginia             ,there isnow concealed (identh the
personordescribethepropertytobesei
                                 zedl:
 PLEASE SEE ATTACHMENT B & C.

        ThebasisforthesearchunderFed.R.Crim .P.41(c)is(checkoneormorel'
                                                                      .
              X evidenceofacrime;
              I
              D contraband,fruitsofcrime,orotheritem sillegally possessed;
              O property designed foruse,intended foruse,orused in com mitting a crim e;
              V apersontobearrestedorapersonwhoisunlawfullyrestrained.
        Thesearch isrelated to aviolation of:
           CodeSection                                                          OffenseDescrl
                                                                                            ption
     18 U.S.C.,Sec.371,513 (a)            CONSPIRACY TO DEFRAUD THE UNITED STATES
        The application isbased on thesefacts:
      PLEASE SEE AU ACHMENT A.

         / ContinuedontheatGchedsheet.
         O Delayednoticeof     days(giveexactendingdateifmorethan 30days:                                              )isrequested
           under18U.S.C.j3103a,thebasisofwhich issetforth ontheattachedsheet.

                                                                                           Applicant'
                                                                                                    s ignature
                                                                                Deputy US M arshal,Ja es R.Satterwhite,IlI
                                                                                           Printed nameand dtle
Sworn to before me and signed in my presence.

Date: z
      s gy                                                                                   Judge'
                                                                                                  ssignature
City and state'
              . Abingdon,Virginia                                                  Honorable PamelaM.Sargent,U/MJ
                                                                                           PrintednameJn#dtle
            Case 1:14-mj-00233-PMS Document 3 Filed 10/30/14 Page 2 of 4 Pageid#: 4

                                          A ttachm ent(A )
                                        Application for Search W arrant

                                                Facebook,lnc.

                                         Electronic Storage D atabases



      1,Jnm esR.Sattc white,111,a D eputy U .S.M arshalassigned to the W estem D istrictofVirginia,
Abingdon D ivisiop sw earthe follow ing statem entto be true and accurate to the bestofm y know ledge.

        1am em ployed as a D eputy U nited States M arshaland have been so em ployed since October2005. M y
dutiesasaDeputy U.S.M arshalinclude the location and apprehension ofboth federaland statefugitivesand
the investigation ofvariouscrim esagainstthe United States ofAm erica. Duxing thattim e,1have had extensive
experienceinlocatinganb apprehendingfugitives.
          This affiantcertifiesthaton April 17,2012,an arrestwarrantw asissued for lsm aelM ARTIN EZ
RODRIGUEZ (a.k.a.OlegarioAVILA RODRIGUEZ)intheW esternDistrictofVirginia,AbingdonDivision,
charging the targetw ith Conspiracy to D eâaud the U nited Statesvia FraudulentChecks. RO DRIG U EZ,an
illegalalien thatw asdeported tw iceto M exico and having previously been convicted federally for sim ilar
crimesin2002,hasfledprosecutionandisconsideredafugitive9om justice.
       O n Septem ber02,2014,the United StatesM arshals Service hasadopted thiscase forapprehension
purposes,peragreementwith theUnited StatesSecretService.Utilizing information discovered during m y
routine investigation and intelligence received from ICE,lw as able to locate the fugitives Facebook account;
OlegarioAvilaRodriguez,ID # 100007684579366.Thisleadwasconoboratedbythesubject'sname,which
w asknown to ICE asan aliasand used by the targetduring hisprevious attem ptto enterthe U nited States
illegally. Further,lw as able to identify his Facebook profle picture he posted on October 19,2014,asbeing
thesameperson asphotographed by ICE during theirbookingprocedure. RODRIGUEZ also denoteson
Facebook thathewasbom andresidesin the city ofPuebla,which wasalso previouslyprovided to 1CE by the
target.

        The affiantknow s,9om training and experience,thatFacebook,lnc.isa com pany capable ofproviding
the inform ation thatw ould assistin locating thisfederalfugitive. Further,the G eo-location inform ation;
Uploads;internetprotocollog activations;friendslist;subscriber inform ation;billing inform ation;and any
phone num bersattached to said account,would also assistin furthering tllisinv t' ti



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                                                                                        DA TE:
                                                    onorable Pam ela M .Sar e
                                                   United StatesM agistrate Judge
Case 1:14-mj-00233-PMS Document 3 Filed 10/30/14 Page 3 of 4 Pageid#: 5

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                                                      A pplication for Search W arrant

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